Filed 02/08/24                                          Case 23-10457                                                          Doc 1396



            1    3
                 ROB BONTA
            2    Attorney General of California
                 RENU R. GEORGE
            3    Senior Assistant Attorney General
                 EMILIO VARANINI (SBN 163952)
            4    NELI N. PALMA (SBN 203374)
                 Supervising Deputy Attorneys General
            5    MELISSA HAMILL (SBN 221332)
                 ROMA PATEL (SBN 318175)
            6    Deputy Attorneys General
                  1300 I Street P.O. Box 944255
            7     Sacramento, CA 94244-2550
                  Telephone: (916) 210-7777
            8     Fax: (916) 731-2120
                  E-mail: Melissa.Hamill@doj.ca.gov
            9    Attorneys for the Attorney General
                 of the State of California
           10

           11                                   UNITED STATES BANKRUPTCY COURT

           12                                     EASTERN DISTRICT OF CALIFORNIA

           13

           14
                 In re:                                                     CASE NO. 23-10457-B-11
           15
                 MADERA COMMUNITY HOSPITAL,                             CALIFORNIA ATTORNEY GENERAL’S
           16                                                           RESPONSE TO THE FIRST AMENDED
                                                                Debtor. PLAN AND SECOND AMENDED
           17                                                           DISCLOSURE STATEMENT FOR
                                                                        CHAPTER 11 LIQUIDATION
           18                                                           PROPOSED BY THE OFFICIAL
                                                                        COMMITTEE OF UNSECURED
           19                                                           CREDITORS; AND TO THE DEBTOR’S
                                                                        AND OFFICIAL COMMITTEE OF
           20                                                           UNSECURED CREDITORS’
                                                                        JOINT MOTION FOR ORDER
           21                                                           AUTHORIZING THE DEBTOR
                                                                        TO ENTER INTO A MASTER
           22                                                           TRANSITION AGREEMENT AND
                                                                        A MANAGEMENT SERVICES
           23                                                           AGREEMENT WITH AMERICAN
                                                                        ADVANCED MANAGEMENT
           24
                                                                            Hearing: February 13 & 27, 2023
           25                                                               Time: 9:30 a.m.
                                                                            Courtroom: 13
           26                                                               Judge: Honorable R. Lestreto II

           27           1.     The California Attorney General (Attorney General) submits this Response to the

           28    First Amended Chapter 11 Plan of Liquidation Proposed by the Official Committee of Unsecured
                                                               1
                 CA Attorney General’s Response to (1) Chapter 11 Plan of Liquidation Proposed by Official Committee of Unsecured
                 Creditors & (2) Joint Motion to Enter into a MTA & MSA with AAM (Case No. 23-10457-B-11)
Filed 02/08/24                                          Case 23-10457                                                          Doc 1396



            1    Creditors (First Amended Plan) [Docket No. 1355], the Second Amended Disclosure Statement

            2    for Chapter 11 Plan of Liquidation Proposed by the Official Committee of Unsecured Creditors

            3    (Second Amended Plan) [Docket No. 1354], and the Debtor’s and Official Committee of

            4    Unsecured Creditors’ Joint Motion for Order Authorizing the Debtor to Enter into a Master

            5    Transition Agreement and a Management Services Agreement with American Advanced

            6    Management. [Docket Nos. 1298-1301].

            7           2.     The Attorney General is an interested party in these proceedings in his constitutional

            8    role as chief law enforcement officer of the state pursuant to California Constitution Article V,

            9    §13 and in a regulator capacity due to the statutory oversight authority of transactions involving

           10    nonprofit health facility pursuant to California Corporations Code sections 5914 and 5920 et seq.,

           11    and in determining whether to deny, consent or conditionally consent to a transaction, the

           12    Attorney General is required to follow certain processes and to weigh several factors, including

           13    whether the transaction may create a significant effect on the availability or accessibility of

           14    healthcare services to the affected community, and whether the transaction is in the public

           15    interest. Cal. Corp. Code §§ 5917(i)-(j) and 5923(i)-(j). The Attorney General submits this

           16    response solely in this capacity and not as counsel for any other state department.

           17           3.     As reported by the Debtor, the Attorney General has met with potential suitors in an

           18    attempt to facilitate the review and consent process under California Corporations Code 5914 and

           19    5920 et. seq., with the goal to facilitate a return of important and necessary healthcare services to

           20    the Madera community. [Docket No. 1214.]

           21           4.     On January 19, 2024, Debtor Madera Community Hospital and the Official

           22    Committee of Unsecured Creditors jointly moved the Court for entry of an order authorizing the

           23    Debtor to enter into a Master Transition Agreement and a Management Services Agreement with

           24    American Advanced Management Inc. Docket Nos. 1298-1301.

           25           5.     Concurrent herewith, the Attorney General has filed a Stipulation seeking an Order

           26    approving the Attorney General Conditions on the transaction with American Advanced

           27    Management Inc.

           28
                                                                          2
                 CA Attorney General’s Response to (1) Chapter 11 Plan of Liquidation Proposed by Official Committee of Unsecured
                 Creditors & (2) Joint Motion to Enter into a MTA & MSA with AAM (Case No. 23-10457-B-11)
Filed 02/08/24                                          Case 23-10457                                                          Doc 1396



            1           6.     The Attorney General understands that there may be additional interested parties

            2    seeking to purchase and resume operations of Madera Community Hospital. If they materialize

            3    and are credible in the determination of all existing parties to this proceeding and/or the Court, the

            4    Attorney General would work with any such interested parties to achieve a stipulated set of

            5    conditions that could be entered by this Court and would request that the Court allow a reasonable

            6    amount of time both to negotiate such conditions and for a process by which the interested parties

            7    can finalize their offer (if needed) and the Debtor/Creditors’ Committee can chose the best option,

            8    before proceeding to any liquidation plan, so that the hospital can be reopened and healthcare

            9    services restarted in a manner that best serves the residents of Madera County and the public

           10    interest.

           11
                 Dated: February 8, 2024                                       Respectfully submitted,
           12
                                                                               ROB BONTA
           13                                                                  Attorney General of California
                                                                               RENU R. GEORGE
           14                                                                  Senior Assistant Attorney General
           15                                                                  /s/ Neli Palma
           16                                                                  NELI PALMA
                                                                               Supervising Deputy Attorney General
           17                                                                  Attorneys for the Attorney General
                                                                               of the State of California
           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28
                                                                          3
                 CA Attorney General’s Response to (1) Chapter 11 Plan of Liquidation Proposed by Official Committee of Unsecured
                 Creditors & (2) Joint Motion to Enter into a MTA & MSA with AAM (Case No. 23-10457-B-11)
